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UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      23-103660

      SiO2 Medical Products, Inc.




      Case Type :                       bk
      Case Number :                     23-103660
      Case Title :                      SiO2 Medical Products, Inc.
      Judge :                           John T. Dorsey
      Courtroom :                       5th Floor Courtroom 5, Wilmington, DE
      Audio Date\Time :                 6/7/2023 02:04:02 PM
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